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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X               10/16/2020
                                                                       :
LI Z. FENG et al.,                                                     :
                                                                       :
                                    Plaintiffs,                        :
                                                                       :   20-CV-2049 (JPC) (JLC)
                  -v-                                                  :
                                                                       :       NOTICE OF
SCHAROME CARES, INC. and ELDERPLAN, INC.,                              :     REASSIGNMENT
                                                                       :
                                    Defendants.                        :
                                                                       :
---------------------------------------------------------------------- X

JOHN P. CRONAN, United States District Judge:

        This case has been reassigned to the undersigned. Unless and until the Court orders

otherwise, all prior orders, dates, and deadlines shall remain in effect notwithstanding the case’s

reassignment. Any conference or oral argument before the Magistrate Judge will proceed as

ordered. All counsel must familiarize themselves with the Court’s Individual Rules, which are

available at https://www.nysd.uscourts.gov/hon-john-p-cronan.

        Additionally, within two weeks of the filing of this Order, the parties are hereby

ORDERED to file on ECF a joint letter addressing the following in separate paragraphs: (1) a brief

description of the case, including the factual and legal bases for the claim(s) and defense(s); (2)

any contemplated motions; (3) the basis for subject matter jurisdiction; and (4) the prospect for

settlement.

        If this case has been settled or otherwise terminated, counsel are not required to submit

such letter or to appear, provided that a stipulation of discontinuance, voluntary dismissal, or other

proof of termination is filed on the docket prior to the joint letter submission deadline, using the

appropriate ECF Filing Event. See SDNY ECF Rules & Instructions §§ 13.17-13.19, available at

http://nysd.uscourts.gov/ecf_filing.php. In accordance with the Court’s Individual Rules and
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Practices, requests for extensions or adjournment may be made only by letter-motion filed on ECF

and must be received at least 48 hours before the deadline or scheduled appearance, absent

compelling circumstances. The written submission must state (1) the original date(s) set for the

appearance or deadline(s) and the new date(s) requested; (2) the reason(s) for the request; (3) the

number of previous requests for adjournment or extension; (4) whether these previous requests

were granted or denied; and (5) whether opposing counsel consents, and, if not, the reasons given

by opposing counsel for refusing to consent.

       SO ORDERED.

Dated: October 16, 2020                             __________________________________
       New York, New York                                    JOHN P. CRONAN
                                                           United States District Judge




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